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                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT
                             1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                                 June 23, 2015

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                                          RECORD RETURN
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         No. 14-7335,     US v. Wayne Porter
                          3:85-cr-00062-RLV-1, 3:14-cv-00373-RLV
         TO: Frank G. Johns
             UNITED STATES DISTRICT COURT
             Western District of North Carolina
             Charles R. Jonas Federal Building
             401 West Trade Street
             Room 210
             Charlotte, NC 28202-0000



        The original record on appeal is returned herewith. The enclosed record consists of:

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